         Case 2:08-cr-20160-KHV Document 518 Filed 11/05/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                       CRIMINAL ACTION
v.                                          )
                                            )                       No. 08-20160-01-KHV
JUAN MATA-SOTO,                             )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On December 18, 2009, the Court sentenced defendant to life in prison. On October 8,

2020, the Court dismissed defendant’s Motion To Reduce Sentence Pursuant To The First Step

Act Of 2018, Section 603 (Doc. #503), which sought compassionate release under 18 U.S.C.

§ 3582. See Memorandum And Order (Doc. #508). On November 2, 2020, defendant appealed.

This matter is before the Court on defendant’s Request For Appointment Of Counsel For Appeal

Of [Section] 3582(c)(1)(A) Dismissal (Doc. #512) filed November 2, 2020. Defendant asks the

Court to appoint counsel on appeal of this Court’s ruling on his motion for compassionate release.

Because defendant has already filed an appeal, his motion is properly raised in the Tenth Circuit.

See United States v. Gutierrez, No. CR 6:14-020-DCR-1, 2020 WL 4949719, at *2 (E.D. Ky.

Aug. 24, 2020) (after notice of appeal filed, district court lacks jurisdiction to consider defendant’s

motion to appoint appellate counsel). Accordingly, the Court dismisses defendant’s motion and

directs the Clerk to forward defendant’s motion to the Tenth Circuit.

       IT IS THEREFORE ORDERED that defendant’s Request For Appointment Of

Counsel For Appeal Of [Section] 3582(c)(1)(A) Dismissal (Doc. #512) filed November 2, 2020

is DISMISSED. The Clerk is directed to forward a copy of this motion for filing in the
        Case 2:08-cr-20160-KHV Document 518 Filed 11/05/20 Page 2 of 2




Tenth Circuit Court of Appeals.

      Dated this 5th day of November, 2020 at Kansas City, Kansas.

                                                        s/ Kathryn H. Vratil
                                                        KATHRYN H. VRATIL
                                                        United States District Judge




                                            -2-
